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Ao 91 (Rev_ 11/11) criminal Compiaim

UNITED STATES DISTRICT COURT

 

 

 

 

for the
Southern District of Texas _
Davld J. Bradley, Cierk
United States of America )
V. § CaseNo M'* /8" 03?7_M
GG|VIEZ-VELA, JOEL (USC) `
YoB; 1972 §
)
)
Defena’ant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 03/2'|/2017 in the county of Hida|QO in the
Southem District of Texas , the defendant(s) violated:
Coa'e Section OJ*"fanse Description
21 USC 846 Conspiracy to Possess Wlth |ntent to Distribute a Contro||ecl Substance,

Cocaine, approximately 15.5 kilograms, a Schedu|e ll Contro|lecl Substance.

This criminal complaint is based on these facts:

(See Attachment l).

Ef Continued on the attached sheet.

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Complainanl ’s Signature

Christopher Donahue, DEA Special Agent

 

Printea' name and title

SWorn to before me and signed in my presence

W ina /W@M

' Jua'ge S signature

City and gram l\/chllen, Texas Peter Ormsby, U.S. l\/laglstrate Judge

Printed name and title

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Attachment I

. During March, 2017, Drug Enforcement Administration (DEA) McAllen District Offlce
(MDO) received information that Cooperating Defendant l (hereafter, CDl) Was a drug
courier who would smuggle narcotics from Mexico into the United States through U.S.
Customs and Border Protection (CBP) Ports of Entry (POE).

. Database indices checks on CDl during March, 2017 indicated that CD1 frequently
crossed into the U.S. through the Roma, Texas POE. Additionally, database indices
checks revealed that CDl had frequently crossed into the U.S. driving a white Chevrolet

Silverado. During l\/larch of 2017, CDl previously crossed in this Silverado on nine (9)
prior occasions

. On March 21, 2017, MDO agents received information from CBP Dispatch that CDl had
entered the U.S. through the Roma, Texas POE at approximately 10:30 a.m., in the same

White Chevrolet Silverado that he previously utilized to cross the border during March,
2017 .

. At approximately 11:00 a.m., SA Christopher Donahue and TFO Ruben Duran observed
CDI ’s White Chevrolet Silverado travelling east on U.S. Expressway 83, Mission, Texas,
towards McAllen, Texas. SA Donahue and TFO Duran subsequently followed CDl ’s
Silverado to the La Plaza Mall, south 10th Street, McAllen, Texas where it was parked on
the ground level of the parking garage

. At approximately 11120 a.m., SA Donahue and TFO Duran observed CDl exit the
vehicle and proceed towards Macys. SA Donahue and TFO Duran subsequently
maintained surveillance on CDl ’s Silverado.

. At approximately 11:40 a.m., SA Donahue and TFO Duran observed Cooperating
Defendant 2 (hereafter, CDZ) approach and then enter CDl ’s unoccupied Silverado.
Mornents later, SA Donahue and TFO Duran observed CDZ depart the Macys parking
garage in CDl ’s Silverado and drive north on 10th Street, McAllen, Texas. Agents
subsequently maintained surveillance of CDZ as he drove through McAllen, Texas.

. At approximately 12:00 p.m., a probable cause vehicle stop was performed on CD2 by
the Hidalgo County Constable’s Office. Following a positive K-9 alert to narcotics in the
vehicle, agents located approximately 15.5 kilograms of cocaine concealed within the
rear driver’s side door of the Silverado. A field test of the suspected cocaine resulted in a
positive reaction for cocaine CDZ was subsequently arrested and presented for
prosecution with possession with the intent to distribute approximately 15 .5 kilograms of

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cocaine via District Court in Hidalgo County, Texas. Additionally, CD1 ’s Silverado was
seized as evidence

On September 17, 2017, MDQ agents arrested CD1 via a federal arrest warrant issued out
of the Southem District of Texas for Possession with lntent to Distribute Cocaine,
approximately 15.5 kilograms, a schedule ll controlled substance

On September 17, 2017, l\/IDO agents conducted an interview with CDl. During the
interview CD1 stated that CD1 knew CD1 was transporting drugs through the POE on
March 21, 2017. CD1 stated that CD1 didn't know What type of drug CD1 was
transporting or how much CD1 was transporting CD1 stated that CD1 was going to get
paid $100 per packet of drugs that CD1 successfully transported through the POE.

CD1 stated that a person CD1 knew as “JOEL” (hereafter, JOEL) asked CD1 if CD1 had
documents which allowed CD1 to cross the border into the U.S. CD1 stated that JOEL
asked CD1 if CD1 would get stopped and searched when CD1 crossed through the
POES and into the U.S. CD1 stated that JOEL asked CD1 if CD1 wanted to work by
crossing things into and out of the U.S. CD1 stated that JOEL drives a white Toyota
Frontier truck with a Texas license plate ~

CD1 stated that during the evening on l\/larch 20, 2017 JOEL contacted CD1 and asked
for CD1 's vehicle CD1 stated that someone subsequently took his truck and later that
evening returned the truck back to CD1 loaded with narcotics CD1 stated that in the
morning of the following day (March 21 , 2017), he entered the U.S. in CDl’s vehicle
CD1 stated that after entering the U.S. CD1 drove to the La Plaza Mall, McAllen, Texas.
CD1 stated that after arriving at the mall, CD1 met with JOEL at the front door of the
mall and transferred CD1 ’s truck keys to JOEL. CD1 stated that later that same day CD1
received a phone call from JOEL who stated that the person who picked up CD1 ’s truck
was not answering his/her phone CD1 stated that after talking to JOEL an unknown
person picked up CD1 from the mall and transported CD1 to downtown McAllen where
CD1 then met with JOEL. CD1 stated that JOEL then transported CD1 to an apartment
in Rio Grande City, Texas.

On September 17, 2017, CD1 identified an apartment complex on the north side

of Elizabeth Street, just east of Alvarez Road, Rio Grande City, Texas, 78582 as a
residence of JOEL. On this same date, l\/IDO agents drove past said apartment complex
and observed a white Nissan Frontier, registered to Joel GOMEZ-VELA (hereafter,
GOMEZ-VELA), parked outside of the complex.

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13. On September 25, 2017, MDO agents arrested CD2 via a federal arrest warrant issued
out of the Southern District of Texas for Possession with lntent to Distribute Cocaine,
approximately 15.5 kilograms, a schedule ll controlled substance

14. On January 03, 2018, MDO agents conducted a proffer interview with CDl. During the
interview, CD1 was shown a Six (6) person photograph lineup which consisted of six (6)
different male subj ects. A picture of GOMEZ-VELA was placed in the #5 Slot. CD1 was
asked if CD1 recognized anyone in the photograph lineup and CD1 stated that CD1
recognized the subject in the #5 Slot as “JOEL”. CD1 subsequently initialed next to the
#5 Slot and wrote, "JOEL" next to GOMEZ-VILLA's picture CD1 stated that GOMEZ-
VELA (JOEL) was the person who coordinated the narcotics load on March 21 , 2017 in
which CD1 participated in. \

15. On February 07, 2018, l\/IDO agents conducted a proffer interview with CD2. CD2
stated that on l\/Iarch 21, 2017, CD2 was contacted via phone, and was given instructions
on when and where to pick up a truck loaded with narcotics CD2 stated that CD2
travelled to the La Plaza Mall, l\/chllen, Texas and was instructed to go inside the mall
by a man CD2 knew as "El Tio" (hereafter, EL TIO). CD2 stated EL TIO possessed the
key for the truck that CD2 would pick up. CD2 stated that CD2 met with EL TIO in the
mall food court and EL TIO subsequently gave CD2 the key for a white Chevrolet
Silverado which was parked in the parking garage near Macys.

16. CD2 was shown a six (6) person photograph lineup which consisted of six (6) different
male subjects A picture of GOMEZ-VELA was placed in the #2 Slot. CD2 was asked if
CD2 recognized anyone in the photograph lineup and CD2 stated that CD2 recognized
the subject in the #2 Slot as EL TIO. CD2 subsequently initialed next to the #2 slot and
wrote, "Keys, El Tio" next to GOMEZ-VILLA's picture

